Case: 1:17-md-02804-DAP Doc #: 1909-12 Filed: 07/19/19 1 of 4. PageID #: 87884




                       Exhibit 9
            Case: 1:17-md-02804-DAP Doc #: 1909-12 Filed: 07/19/19 2 of 4. PageID #: 87885
 From:                   Nathalie Leitch
 To:                     'jaltier2001@yahoo.com'
 Sent:                   8/26/2011 3:48:27 PM
 Subject:                Re: Weekly Update
 Attachments:            image001.gif



Hi-thanks . You and Bruce etc are the et a l . Wou l dn ' t have a cal l l ike this w/o you : ) .



Fr om : Jennife r Al ti er [ma i lto : jal ti er200 1 @yahoo . com ]
Sen t : Friday , Augus t 26 , 201 1 0 4 : 4 4 PM
To : Natha l ie Leitch
Sub j ect : Re : Week l y Update


Hi - your message below was great . On l y thing extra I cou l d think of are the TMS e f forts
around UA now and going after the gener i c market with the next script .

Now that everything is i n production I have been starting to think about " what to do next" . If
you do have a cal l with the RBDs ne xt week I' d l ove to be on i t .
Have a good weekend - and be glad you 'r e not in Irene ' s path '

Jennife r

Sent v ia BlackBerry by AT&T



From : " Nathal i e Leitch " <N Lei t c h@a c ta v is . com>
Date : Fri , 26 Aug 2011 16 : 20 : 50 - 0400
To : < j a l t ier200l@yahoo . com>
Sub j ect : Fw: Week l y Update

Hi ,

Pl ease have a look at the s t r in g be l ow . We need to be think in g abou t any/all poss ibi l i t i es . I
think we al r eady have - but it seems the sky may be the l i mi t .

Al so- do ypou think I mi ssed anything major below? My thumbs are star ting to cramp up fr om
bberrying .

Hoping t hat irene goes ou t wi t h a whisper . Stay in and be as caut i ous as poss ibl e .

Natha lie


From : Natha li e Leitch
Sen t: Friday , Augus t 26 , 201 1 0 4 : 14 PM
To: Doug Boothe
Cc : Terren ce Fu l lem ; Bruce Su l l i van
Sub j ect : Re : Week l y Update


Doug ,

The unit sa l es out from who l esa l ers to retailers does show a l oss of momentum . Th i s is
seasona l to some degree but we need to turn it around .

Here's a rundown o f whe r e we 're at and what ' s planned .

The team ' s ob j ect i ve coming out of t he NSM was t o maintain t arget TRx a t the post -Emb eda
recal l l eve l. Thi s meant t argets needed to wri te an avg of 1306 Kadi an Rx per day f or the 4
mos end i ng August . So f ar , the t eam has managed to do this , but only j ust (they're trending at
1301 per day) .


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We added new high volume generic MS writers to each of the territories at the end of Jul y . The
response from these writers to our message has been positive so f ar . We ' re l ooking t o this
segment to drive growt h over the coming months .

We have fina l i zed the s t rategy fo r adding new territories and as of earlier this week , the new
targets . Our focus once again is on the high volume generic ms wri ters . We now need to
understand the MC coverage in these new terrs to make certain Kadian i s not d i sadvantaged . The
goal i s to have f olks in the field - assuming we don ' t uncover probl ems relating to MC -
before the end o f Sep .

We are pushing hard on the MC front and will check with Ara to see if additional resources ( eg
RBDs in supporting role) would help . Our biggest l osses have come from CIGNA, Uni versal
American and United Health . We have initiatives ongoing at all three to get the business back
and wi l l continue to push until we do get it back .

The d i rect mail and email campaigns rol l out next week . Main messages here are l ong history of
safe and e f ficicacious use, f avorabl e formulary position and co-pay program . The main goal i s
awa r eness and it's a good campaign .

We have looked at speakers programs and every deri vati ve thereof and have made the decision
not to pu r sue . Legal and regulatory have been strongly opposed plus the cost-benefit very
uncertain given the complete l ack of clini cal data for Kadian . Generating prescriber interest
in a Kadian program woul d be ver y chal lenging given what we a r e able to talk about .

This i s a promotionally sensitive group of prescribers . I think the approach we ' re taking ie
focusing on generic MS writers is going to pay off . We will also re- evaluate the current
territories and cal l plans to make sure we ' re opti mi z ing reach and frequency .

I 'll set up a cal l next week for RBDs et al to revisit current strategy and initiatives to
make sure we are not missing anything and to l ook for creati ve ways to impact Rx .

Nathalie


From : Doug Boothe
Sent : Friday, August 26 , 201 1 09 : 47 AM
To : Nathalie Leitch
Cc : Terrence Ful lem; Bruce Sulli van
Subject : RE : Weekl y Update



We are ce r tainly l osing our momentum here .



What can we do to re-establish ou r script level ove r 26K/week?



Have we finalized the addi t i onal sal es positions? What can we do t o c l ose gaps in Managed
Markets? Other promoti on/ ini t i atives?



Have we scratched any ideas around speakers forums , etc?



At the end of the day , is this purely a brute-force direct detail item?



DB




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         Case: 1:17-md-02804-DAP Doc #: 1909-12 Filed: 07/19/19 4 of 4. PageID #: 87887
Doug Boothe
Chief Executive Offi cer , Actavis Inc .


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From : Na t ha li e Lei tch
Sent : Thursday , August 25 , 2011 6 : 36 PM
To: Doug Boothe ; Terrence Fullem; Ar a Aprahami an RPh ; Stephen Gall agher ; Bruce Sul l i van ;
Lor r a ine Rogal ski ; Mark Palmisano ; Beth Zelnick-Kaufman; ' Shepherd, Michael'; Killion , Mark ;
'Mcclanahan , Patri ck '; 'Hepp , Chri stopher ' ; Jennifer Altier
Sub j ect : Weekl y Update



Hi everyone - please see the attached updated reports f or Kadian .



Na t ha li e Leitch
Director , Specialty Rx Products


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